                            In the Matter Of:

           KULAKOWSKI vs WESTROCK SERVICES




                                JEB BELL

                           December 18, 2017




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KULAKOWSKI vs WESTROCK SERVICES

 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · · · · DEPOSITION OF

 · · · · · · · · · · · JEB BELL

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · December 18, 2017

 · · · · · · · ·Commencing at 1:00 p.m.




 __________________________________________________



 Reported by:· Elisabeth A. Miller Lorenz, RMR, CRR
 Tennessee LCR No. 66
 Expires:· 6/30/2018



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·1·   APPEARANCES:                                              ·1· · · · · · · ·The deposition of JEB BELL was taken on
·2·   For the Plaintiff:                                        ·2· behalf of the Plaintiff on December 18, 2017, in the
·3·   · · ·HEATHER MOORE COLLINS
                                                                ·3· offices of Constangy, Brooks, Smith & Prophete,
· ·   · · ·Collins & Hunter
·4·   · · ·7000 Executive Center Drive                          ·4· 1010 SunTrust Plaza, 401 Commerce Street, Nashville,
· ·   · · ·Building 2, Suite 320                                ·5· Tennessee, for all purposes under the Federal Rules
·5·   · · ·Brentwood, Tennessee· 37027
                                                                ·6· of Civil Procedure.
· ·   · · ·(615) 724-1996
·6·   · · ·heather@collinshunter.com                            ·7· · · · · · · ·The formalities as to notice, caption,
·7                                                              ·8· certificate, et cetera, are waived.· All objections,
· ·   For the Defendant:
                                                                ·9· except as to the form of the questions, are reserved
·8
· ·   ·   ·   ·MARY DOHNER SMITH                                10· to the hearing.
·9·   ·   ·   ·Constangy, Brooks, Smith & Prophete              11· · · · · · · ·It is agreed that Elisabeth A. Miller
· ·   ·   ·   ·1010 SunTrust Plaza
                                                                12· Lorenz, being a Notary Public and Court Reporter for
10·   ·   ·   ·401 Commerce Street
· ·   ·   ·   ·Nashville, Tennessee· 37219                      13· the State of Tennessee, may swear the witness, and
11·   ·   ·   ·(615) 320-5200                                   14· that the reading and signing of the completed
· ·   ·   ·   ·mdohner@constangy.com
                                                                15· deposition by the witness are reserved.
12·   ·   ·   ·nsuarez@constangy.com
13                                                              16
14                                                              17
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17                                                              19
18                                                              20
19                                                              21· · · · · · · · · · · · · * * *
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22                                                              23
23                                                              24
24
                                                                25
25

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·1· · · · · · · · · · · · I N D E X                             ·1·   · · · · · · · · · · · JEB BELL
·2· · · · · · · · · INDEX OF EXAMINATIONS
                                                                ·2·   was called as a witness, and after having been first
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page
                                                                ·3·   duly sworn, testified as follows:
·4· WITNESS: JEB BELL
·5· Examination By Ms. Collins ........................5        ·4·   · · · · · · · · E X A M I N A T I O N
·6· Examination By Ms. Dohner Smith ..................31        ·5·   BY MS. COLLINS:
·7· · · · · · · · · · ·MARKED EXHIBITS                          ·6·   Q· · · ·Could you state your full name for the
·8· Exhibit· · · · Description· · · · · · · · · · · Page        ·7·   record, please?
·9· No. 29· ·ALERTLINE System Report .................17
                                                                ·8·   A· · · ·James Ellingwood Bell, Jr.
10
                                                                ·9·   Q· · · ·And do you go by Jeb?
11
12· · · · · · · ·PREVIOUSLY MARKED EXHIBITS
                                                                10·   A· · · ·Uh-huh.
· · · · · · · · · · PRESENTED TO WITNESS                        11·   Q· · · ·Okay.· What is your address?
13                                                              12·   A· · · ·25 Adair Road, Jackson, Tennessee, 38305.
· · Exhibit· · · · Description· · · · · · · · · · · Page        13·   Q· · · ·And what is your phone number?
14                                                              14·   A· · · ·(731)694-7591.
· · No. 15· ·Complaint ...............................16
                                                                15·   Q· · · ·Where do you currently work, Mr. Bell?
15
· · No. 16· ·Whited Invesigation Docs ................29
                                                                16·   A· · · ·WestRock.
16                                                              17·   Q· · · ·How long have you been with WestRock?
17                                                              18·   A· · · ·I've been with WestRock and its legacy
18                                                              19·   companies since '97.
19                                                              20·   Q· · · ·What is your current job title?
20
                                                                21·   A· · · ·I'm an area vice president.
21
                                                                22·   Q· · · ·Are you an area vice president over a
22
23                                                              23·   particular area?
24                                                              24·   A· · · ·Area vice president of the midsouth.
25                                                              25·   Q· · · ·What do you do as area vice president over


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                                                     Page 6                                                        Page 8
·1·   the midsouth?                                           ·1·   A· · · ·Hiring or firing?
·2·   A· · · ·It's comprised of facilities in Mississippi,    ·2·   Q· · · ·Yes.
·3·   Alabama, Tennessee.· There are 9 manufacturing          ·3·   A· · · ·Well, hiring would be a direct report to me;
·4·   sites, 2 specialty sites; 11 facilities.· And I am      ·4·   would also be what I consider key functional
·5·   responsible for the P&L.· I have oversight of all       ·5·   businesses -- leaders, whether that's a GM or a
·6·   manufacturing, sales, engineering, design.              ·6·   plant manager.
·7·   · · · · There's only two functions that don't report    ·7·   · · · · On the sales side of it, sales managers, I
·8·   to me directly but indirectly on a dotted line.         ·8·   exercise veto power.· I don't typically tell a
·9·   That would be the HR and the finance.                   ·9·   business leader that you're going to hire this
10·   Q· · · ·But you said HR reports indirectly to you?      10·   person.· Then I own it; they don't.· But if I have a
11·   A· · · ·Yes.                                            11·   problem with them, I would exercise my veto.
12·   Q· · · ·Through who?                                    12·   · · · · In the case of terminations, they're
13·   A· · · ·I'm not following.                              13·   typically for nonperformance.
14·   Q· · · ·You said they report indirectly.                14·   Q· · · ·Were you involved in the decision to
15·   · · · · How do they indirectly report to you?· Who      15·   terminate Tommy Whited?
16·   is it through?                                          16·   A· · · ·I was.
17·   A· · · ·There is an HR lead that is assigned to the     17·   Q· · · ·Were you the final decision-maker?
18·   midsouth.· So there's an area HR manager who            18·   A· · · ·No.· I was one of several senior people who
19·   functionally reports up through the HR function and     19·   made that decision.
20·   has a dotted line to the operational lead that they     20·   Q· · · ·Who were the several senior people who made
21·   are working with.                                       21·   that decision?
22·   Q· · · ·How long have you been in this role as area     22·   A· · · ·Gentlemen -- well, it would have gone all
23·   vice president of midsouth?                             23·   the way to the chairman, Steve Voorhees; the
24·   A· · · ·2014.· October or so of 2014.                   24·   president of the corrugated packaging segment, which
25·   Q· · · ·What was your job title before you were area    25·   would have been Jeff Chalovich; but the primary
                                                     Page 7                                                        Page 9
·1·   vice president of midsouth?                             ·1·   would be Rick Parris, who I report to, who's the
·2·   A· · · ·It's what they call business unit general       ·2·   senior vice president of the central region;
·3·   manager.                                                ·3·   Jill Horner, who is the vice president of HR reports
·4·   Q· · · ·As the area VP of the midsouth, are you over    ·4·   to Jeff Chalovich; Joy Jones, who is the regional
·5·   the WestRock Gallatin plant?                            ·5·   HR, who reports to my boss -- or actually reports to
·6·   A· · · ·Gallatin would be one of the facilities that    ·6·   Jill but is assigned to be the HR lead for
·7·   I have responsibility for.                              ·7·   Rick Parris.
·8·   Q· · · ·And what is the chain of command before it      ·8·   Q· · · ·How did that process play out?· Was there
·9·   gets to you from Gallatin?                              ·9·   some sort of form y'all had to check that you agreed
10·   A· · · ·There is a general manager of the facility,     10·   he should be terminated, Mr. Whited?
11·   there is a business unit general manager, and then      11·   A· · · ·The decision to terminate Tommy came from
12·   there's an AVP.                                         12·   the results of an investigation that occurred from
13·   Q· · · ·Now, I'm specifically referring to the time     13·   an anonymous 800 call to the hotline.· Investigation
14·   when Tommy Whited was there.                            14·   ensued, and the findings from that investigation led
15·   · · · · Was he the general manager?                     15·   to his termination.
16·   A· · · ·Yes.                                            16·   Q· · · ·Did all of the people that you just
17·   Q· · · ·Who is the business unit general manager        17·   mentioned, Rick Parris and Jill Horner and Joy Jones
18·   while he was there, specifically in 2016 and '15?       18·   and yourself, all have to agree; or did anyone
19·   A· · · ·A gentleman by the name of Tom Pedine.          19·   disagree that he should be terminated?
20·   Q· · · ·As the area vice president of midsouth, do      20·   A· · · ·No one disagreed.· It was consensus.
21·   you have authority to hire and fire employees?          21·   · · · · Do other voices outweigh others?
22·   A· · · ·Yes.                                            22·   · · · · The most senior person in that decision
23·   Q· · · ·What sort of situations would you typically     23·   group would be Rick Parris, but there wasn't any
24·   exercise that authority for?· Who -- who would you      24·   dissension at all.
25·   typically exercise that authority for?                  25·   Q· · · ·Did y'all have a phone conference to discuss


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·1·   the findings of the investigation, or how did that      ·1·   · · · · · · ·MS. DOHNER SMITH:· Object to the form.
·2·   come about?                                             ·2·   · · · · · · ·THE WITNESS:· What?
·3·   A· · · ·There were several conference calls.· Our       ·3·   · · · · · · ·MS. DOHNER SMITH:· I objected.· You can
·4·   legal counsel along with HR were leading the            ·4·   answer if you are able.
·5·   investigation.· So when I say there were several        ·5·   · · · · · · ·THE WITNESS:· Can you repeat the
·6·   conference calls, once the initial call came into       ·6·   question?
·7·   the hotline, it was really regarding the issue that     ·7·   · · · · · · ·MS. COLLINS:· Sure.
·8·   employees were leaving and that we should look into     ·8·   · · · · · · ·(The requested question was read back
·9·   that matter.                                            ·9·   by the court reporter as follows:
10·   · · · · So the investigation ensued, took place, and    10·   · · · · · · ·"Question:· Was that considered by the
11·   kind of -- it's like opening Pandora's box.· One        11·   company to be sexual harassment since it was just
12·   thing led to another and another and another, and       12·   directed towards a male employee?")
13·   employees came forward at that point in time to the     13·   · · · · · · ·THE WITNESS:· No, I don't -- I don't
14·   HR.                                                     14·   think it was anything sexual because it wasn't just
15·   · · · · So those conference calls take place to         15·   him.· There were other types of behavior that were
16·   advise the current status of the investigation.         16·   going on with other employees as well.
17·   Q· · · ·Was WestRock's attorney on all of those         17·   · · · · · · ·It seemed that Michael was the
18·   calls?                                                  18·   recipient of some more physical behavior, hitting,
19·   A· · · ·Yes.                                            19·   kicking.
20·   Q· · · ·Did you take any notes from those phone         20·   BY MS. COLLINS:
21·   calls?                                                  21·   Q· · · ·Did --
22·   A· · · ·No.                                             22·   A· · · ·Kicking a chair out from under him.
23·   Q· · · ·Do you typically get Global Compliance          23·   Q· · · ·To your knowledge, did any female employees
24·   hotline reports?                                        24·   complain of Mr. Whited hitting, kicking them?
25·   A· · · ·Me personally?· No.                             25·   A· · · ·No.
                                                    Page 11                                                       Page 13
·1·   Q· · · ·Who typically gets those?                       ·1·   Q· · · ·And based on WestRock's policies, can
·2·   A· · · ·Go into an 800 number, and they're directed     ·2·   horseplay constitute sexual harassment to your
·3·   either to the employment legal counsel, who             ·3·   knowledge?
·4·   distributes to the HR leader of the business.· It's     ·4·   A· · · ·I suppose it could.· It depends on the
·5·   typically contained within the HR and legal group.      ·5·   context that transpired.
·6·   Q· · · ·Are you familiar with Tommy -- had you --       ·6·   Q· · · ·What would you consider horseplay to be?
·7·   well, are you familiar with WestRock's employment       ·7·   A· · · ·Horseplay is behavior that is inappropriate
·8·   policies?                                               ·8·   for the workplace, so examples would be hitting,
·9·   A· · · ·Yes.                                            ·9·   using language, banter that gets out of hand,
10·   Q· · · ·And was one of the reasons he was terminated    10·   arguments, but basically as it applies to create an
11·   due to a violation of its sexual harassment policy?     11·   unsafe work environment.
12·   A· · · ·I would say it was conduct unbecoming of        12·   Q· · · ·When was the last time you went to the
13·   leadership that was a violation of the core values      13·   Gallatin plant before -- when it was still during
14·   of the company.· There may have been kind of what we    14·   Tommy Whited's tenure?
15·   perceived as workplace violence.                        15·   A· · · ·I try to go to facilities once every six to
16·   Q· · · ·What about his conduct was unbecoming?          16·   eight weeks.· So I can't time-wise nail that down
17·   A· · · ·Well, based on the investigation, there were    17·   for you of when the investigation started.
18·   incidents where Tommy behaved in a manner that we,      18·   Q· · · ·When you go to plants every six to eight
19·   you know, don't think holds respect or integrity.       19·   weeks, is it announced ahead of time; or do you go
20·   · · · · There was the incident with Michael.· That      20·   there for a specific purpose?
21·   was probably the overwhelming issue.· There were        21·   A· · · ·Well, it's not always announced.· But most
22·   actions that he did with Michael.                       22·   of the time out of respect, I let folks know. I
23·   Q· · · ·Was that considered by the company to be        23·   could be traveling in the area and show up.· But the
24·   sexual harassment since it was just directed towards    24·   agenda is typically about operational performance.
25·   a male employee?                                        25·   Q· · · ·When you would go out to the Gallatin


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·1·   facility, would you typically go over to the            ·1·   Q· · · ·Yes.
·2·   fulfillment center; or would you pretty much stay at    ·2·   · · · · · · ·(Presented Exhibit No. 15.)
·3·   the main plant?                                         ·3·   BY MS. COLLINS:
·4·   A· · · ·Both.                                           ·4·   Q· · · ·Just take a moment to review that, and let
·5·   Q· · · ·About how many times do you think you went      ·5·   me know when you're done.
·6·   to the fulfillment center in Gallatin in 2016?          ·6·   A· · · ·I remember this now.
·7·   A· · · ·Three to four.                                  ·7·   Q· · · ·Did you receive a copy of this complaint in
·8·   Q· · · ·To your knowledge, were any other managers      ·8·   2015?
·9·   that -- well, to your knowledge, did any other          ·9·   A· · · ·I don't recall receiving a copy, but I
10·   managers at the facility witness Tommy Whited           10·   remember a complaint that was reported about an
11·   kicking Michael Kulakowski?                             11·   anonymous call that Tommy was having an affair that
12·   A· · · ·To my knowledge, no.                            12·   happened in 1999.· But I don't know that anything --
13·   Q· · · ·So were there any other managers that were      13·   I wasn't a part of any decision-making here.
14·   out at the Gallatin facility or facilities              14·   Q· · · ·Well, to your knowledge, was anything done
15·   disciplined for not reporting Tommy Whited's            15·   to Tommy Whited as a result of this complaint that
16·   behavior towards subordinate employees?                 16·   was made in 2013?
17·   A· · · ·No.                                             17·   A· · · ·To my knowledge, no.
18·   Q· · · ·Did you know that a complaint of harassment     18·   Q· · · ·And you would have known if something were
19·   had been made against Tommy Whited in 2013?             19·   done to him, right?
20·   A· · · ·I was aware that -- an 800 call in 2013. I      20·   · · · · · · ·MS. DOHNER SMITH:· Objection.
21·   don't know the specifics of it, but...                  21·   · · · · · · ·THE WITNESS:· Yes.
22·   Q· · · ·When did you become aware of that?              22·   BY MS. COLLINS:
23·   A· · · ·At the time of the complaint on the 16th.       23·   Q· · · ·Do you know if the company initiated an
24·   Q· · · ·The time of the 2016 investigation?             24·   investigation as a result of this complaint?
25·   A· · · ·Uh-huh.                                         25·   A· · · ·I assume they did because there was a
                                                    Page 15                                                       Page 17
·1·   Q· · · ·So to your knowledge, was there any sort of     ·1·   compliance call in there.
·2·   investigation or additional oversight as a result of    ·2·   Q· · · ·Okay.
·3·   the 2013 complaint against Tommy Whited?                ·3·   · · · · · · ·MS. COLLINS:· I'm going to mark this
·4·   A· · · ·I don't know.· I mean, I don't know the         ·4·   next document as Exhibit 29.
·5·   complaint.                                              ·5·   · · · · · · ·(Marked Exhibit No. 29.)
·6·   · · · · 800 calls don't necessarily come through me.    ·6·   BY MS. COLLINS:
·7·   They go to HR, and they investigate.· Whether I need    ·7·   Q· · · ·Just let me know when you've had a moment to
·8·   to be brought into the loop is a call that's made by    ·8·   review this.
·9·   legal and HR.· Most calls come in anonymously, so...    ·9·   · · · · Have you seen this document before?
10·   Q· · · ·What typically would rise to the level where    10·   A· · · ·Huh-uh.
11·   you would get involved?                                 11·   Q· · · ·No?
12·   A· · · ·The -- as it applies to this, the call came     12·   · · · · But to your knowledge, in 2013 Mr. Whited
13·   in anonymously -- anonymously for the complaint         13·   wasn't suspended or disciplined in any sort of
14·   about employees leaving Gallatin.· That really          14·   formal way as a result of the complaint that was
15·   didn't rise to the level of my involvement.             15·   initiated?
16·   · · · · What transpired is when they went in to         16·   A· · · ·No.
17·   investigate and discussed with employees, other         17·   · · · · · · ·MS. DOHNER SMITH:· I'm just going to
18·   things began to come out.· That's when I was brought    18·   object quickly to the extent this is being admitted.
19·   further into the situation.                             19·   I'm fine with it being marked as No. 29 for
20·   Q· · · ·Have you seen the 2013 complaint that was       20·   identification purposes, but I don't think it's been
21·   made against Mr. Tommy Whited?                          21·   authenticated.
22·   A· · · ·Not that I recall, no.                          22·   BY MS. COLLINS:
23·   Q· · · ·First, let's go to -- if you could turn in      23·   Q· · · ·And this document that you're holding,
24·   this book to Exhibit No. 15.                            24·   Exhibit No. 29, have you seen a form like this
25·   A· · · ·As it's in the tabs here?                       25·   before?


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·1·   A· · · ·A -- a compliance?                              ·1·   HR was doing a -- you know, notifying that they were
·2·   Q· · · ·Yes.                                            ·2·   doing an investigation.
·3·   A· · · ·Yes.                                            ·3·   Q· · · ·So you think HR did not notify him that he
·4·   Q· · · ·Is this a business document of WestRock,        ·4·   was under investigation?
·5·   these Global Compliance ALERTLINE system reports?       ·5·   A· · · ·I can't -- I don't know.
·6·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·6·   Q· · · ·Did you notify him that he was under
·7·   · · · · · · ·THE WITNESS:· I don't know that it's a     ·7·   investigation?
·8·   WestRock form.· I think this is a third party that      ·8·   A· · · ·No, because at the point -- at the point in
·9·   administers this compliance, so it's a form they use    ·9·   time when the compliance call came in, it was about
10·   I guess to alert what the call was, the time, and       10·   employees leaving because of dissatisfaction to
11·   what...                                                 11·   work.
12·   BY MS. COLLINS:                                         12·   · · · · You know, I took it initially the complaint
13·   Q· · · ·And this is how WestRock is provided the        13·   or compliance call was a work-life balance issue.
14·   reports from the third-party administrator; is that     14·   People were working excessive overtime and were
15·   correct?                                                15·   quitting the job.
16·   · · · · · · ·MS. DOHNER SMITH:· Objection.              16·   · · · · It's only after they began investigating,
17·   · · · · · · ·THE WITNESS:· I believe so.                17·   you kind of open one door and the next door and
18·   BY MS. COLLINS:                                         18·   other things kept coming up, you began to understand
19·   Q· · · ·Now, as far as reporting sexual harassment,     19·   the severity of what was going on.
20·   if a manager at a facility witnesses sexual             20·   Q· · · ·And were you kept apprized along the way as
21·   harassment, do they have a duty to report that?         21·   more and more egregious things came up?
22·   A· · · ·Absolutely.                                     22·   A· · · ·There were -- the investigation, and then
23·   Q· · · ·Do they have a duty to report it if they see    23·   there were conference calls that took place that I
24·   another manager hitting or kicking an employee?         24·   was invited to or participated in.· But the -- the
25·   A· · · ·Yes, although it's spelled out in the policy    25·   actual investigation was led by the HR and legal
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·1·   of the company.                                         ·1·   group.
·2·   Q· · · ·Which managers at the company, other than       ·2·   · · · · So at what point they had the conference
·3·   general managers at a facility, would that              ·3·   calls or made the decisions to have the conference
·4·   responsibility go to?                                   ·4·   calls, you know, I don't know.
·5·   A· · · ·Well, it goes down to every employee.           ·5·   Q· · · ·When you participated in those conference
·6·   That's -- the training that everyone receives is on     ·6·   calls, did you get, like, a meeting request for
·7·   the workplace code of conduct, workplace harassment.    ·7·   that?· How did -- how were you notified that a
·8·   So that training is done annually, and then it's        ·8·   conference call was going to take place?· Was it put
·9·   posted for...                                           ·9·   on your calendar?
10·   Q· · · ·And there are both men and women that work      10·   A· · · ·I believe it was put on my calendar.
11·   at the Gallatin facility, right?                        11·   Q· · · ·Would those dates that you participated in
12·   A· · · ·Correct.                                        12·   conference calls still be reflected on your 2016
13·   Q· · · ·Were you immediately notified when WestRock     13·   calendar?
14·   received the 2016 complaint against Tommy Whited?       14·   A· · · ·I don't know.· I just -- I don't know.
15·   A· · · ·I was notify -- I don't know immediately,       15·   Q· · · ·What HR person did you talk to directly
16·   but I was notified before the investigation was         16·   about the investigation?
17·   started by my HR lead, that they had received a         17·   A· · · ·My HR lead would have been Melinda McGraw.
18·   compliance call.                                        18·   Q· · · ·And is she still with the company?
19·   Q· · · ·While that investigation took place, did        19·   A· · · ·No.
20·   Tommy Whited continue to report to work?                20·   Q· · · ·Why did she leave?
21·   A· · · ·Yes.                                            21·   · · · · · · ·MS. DOHNER SMITH:· Objection.
22·   Q· · · ·Do you know if he was notified that he was      22·   BY MS. COLLINS:
23·   under investigation?                                    23·   Q· · · ·Do you know why she left?
24·   A· · · ·I don't know that, no.· I don't know that he    24·   A· · · ·Yes, I do know why she left, but I don't
25·   was directly contacted.· I think that they were --      25·   think it's germane to this.


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·1·   Q· · · ·Why did she leave?                              ·1·   was a high functioning team; that it was a very,
·2·   · · · · · · ·MS. DOHNER SMITH:· Can we go off the       ·2·   very close-knit group; that they had worked together
·3·   record for just a minute, and we can talk?              ·3·   for a long time.· And I hate to be -- you know, that
·4·   · · · · · · ·MS. COLLINS:· Yeah.                        ·4·   they were family.
·5·   · · · · · · ·(Discussion off the record.)               ·5·   Q· · · ·Do you recall having any conversations with
·6·   · · · · · · ·MS. COLLINS:· Back on the record.          ·6·   Tom Pedine after the allegations came out about
·7·   BY MS. COLLINS:                                         ·7·   Tommy Whited?
·8·   Q· · · ·Can you tell me generally, was -- did Ms. --    ·8·   A· · · ·At what point?· I mean --
·9·   was Ms. McGraw -- did she resign, or was she            ·9·   Q· · · ·After the allegations came out about
10·   terminated?                                             10·   Tommy Whited, did you have any specific
11·   A· · · ·She was terminated.                             11·   conversations with Tom Pedine that you can recall
12·   Q· · · ·And generally what was the reason why she       12·   about Tommy Whited's behavior or anything like that?
13·   was terminated?                                         13·   A· · · ·As the allegations were coming out, yes.
14·   A· · · ·Her personal life and issues that she           14·   Q· · · ·What do you recall about those
15·   experienced began to impact her work performance.       15·   conversations?
16·   Q· · · ·When did she leave the company?                 16·   A· · · ·That if this kind of behavior is actually
17·   A· · · ·I guess December '16.· December or              17·   going on, that Tommy is in a lot of trouble.
18·   January -- yeah, December '16.                          18·   Q· · · ·Did there come a point in time where you
19·   Q· · · ·Did any of the issues with her work             19·   became aware that during the investigation
20·   performance have to do with her heading up the          20·   Tommy Whited was trying to move Michael Kulakowski?
21·   investigation into Tommy Whited?                        21·   A· · · ·I'm aware of that, yes.
22·   A· · · ·Absolutely not.                                 22·   Q· · · ·Tell me what you know about that.
23·   Q· · · ·So Mr. Pedine -- is it Mr. Pedine or Pedine?    23·   A· · · ·During the investigation, Tommy attempted at
24·   A· · · ·He goes by Pedine.                              24·   some point in time to move Michael.· I can't
25·   Q· · · ·Was he considered Tommy Whited's direct         25·   remember where he was going to move but out of the
                                                    Page 23                                                       Page 25
·1·   supervisor?                                             ·1·   shipping department.
·2·   A· · · ·Yes.                                            ·2·   · · · · The HR lead came to me and said that was
·3·   Q· · · ·As plant manager, did Tommy Whited get          ·3·   going on, and I stopped it.
·4·   yearly evaluations?                                     ·4·   Q· · · ·And was that because that could be
·5·   A· · · ·Yes.                                            ·5·   considered retaliation if he would have done that?
·6·   Q· · · ·Who was -- did you sign off on those, or did    ·6·   A· · · ·As ongoing investigation, yes, it would be
·7·   Mr. Pedine sign off on those?                           ·7·   retaliation.· And there were no -- there were no
·8·   A· · · ·Typically, the employee's direct manager        ·8·   write-ups in Michael's employment, no things that
·9·   does the performance review.                            ·9·   would corroborate a move or a demotion, because it
10·   Q· · · ·Other than the 2013 Global Compliance           10·   was going to, I think, impact pay as well.
11·   complaint against Tommy Whited, are you aware of any    11·   Q· · · ·Why was Tommy Whited terminated?
12·   other complaints against Tommy Whited like the ones     12·   A· · · ·Tommy was terminated because of not
13·   that are of the nature of the 2013 one or the 2016      13·   conducting himself in a professional manner, that
14·   one?                                                    14·   the behaviors that the investigation found were
15·   A· · · ·No.                                             15·   egregious enough for us to terminate a 40-year
16·   Q· · · ·Had he been disciplined to your knowledge --    16·   tenured employee.
17·   Mr. Whited, had he been disciplined to your             17·   · · · · Hitting people in the groin goes beyond, you
18·   knowledge for any job performance issues prior to       18·   know, appropriate behavior in the workplace.· It's
19·   2016?                                                   19·   not just -- it's not just horseplay that you would
20·   A· · · ·Not that I'm aware of.· In fact, Tommy was      20·   see in an organization that is that tight knit that
21·   highly regarded within the WestRock organization.       21·   has worked together for that length of time as a
22·   He led a very successful business, a business that      22·   team.
23·   was recognized as plant of the year twice within the    23·   Q· · · ·Were you there the day he was terminated?
24·   legacy companies.                                       24·   A· · · ·I terminated Tommy.
25·   · · · · So my impression was -- of that team was it     25·   Q· · · ·What did you tell him?


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·1·   A· · · ·You know, basically kept it short and sweet,    ·1·   Were you involved in that decision?
·2·   that, I don't know, based on the findings of the        ·2·   A· · · ·I would have been involved in putting some
·3·   investigation, you're no longer employed with           ·3·   type of security service in.· Again, we do that
·4·   WestRock.                                               ·4·   where there is a termination and the potential that,
·5·   Q· · · ·Was he provided any documents?                  ·5·   you know, an employee could, you know, come back
·6·   A· · · ·Not by me.· I don't think the company would     ·6·   with a gun and shoot everybody, go postal.
·7·   have provided any.                                      ·7·   Q· · · ·Right.
·8·   Q· · · ·Was he offered the opportunity to resign        ·8·   · · · · What led you to believe there was a level of
·9·   before being terminated?                                ·9·   acrimony?
10·   A· · · ·No.                                             10·   A· · · ·Well, we terminated a guy who's worked 40
11·   Q· · · ·Was that discussed as an option, that he        11·   years with the company and by all appearances was
12·   could -- that the company would accept his              12·   highly successful.· In his mind, he was successful.
13·   resignation in lieu of termination?                     13·   Plant of the year, a good employee.
14·   A· · · ·It may have been a topic of conversation        14·   Q· · · ·Who would you say made the final decision to
15·   during the conference calls when the final decision     15·   terminate Tommy Whited?
16·   was made.· But the consensus was this was a             16·   A· · · ·I would say it was a consensus.· But if
17·   termination.                                            17·   there's going to be one overriding voice in that
18·   Q· · · ·Did you give him separation paperwork the       18·   situation, it's going to be Rick Parris.· He's the
19·   day you notified him of his termination?                19·   senior vice president of it.· But it's going to
20·   A· · · ·I didn't.· I left -- left and left an HR        20·   be -- you know, legal is going to play a big part in
21·   team after I terminated his employment.· So I don't     21·   it.
22·   know.                                                   22·   · · · · At that point, though, it was really -- it's
23·   Q· · · ·Who was the HR team that was there that day?    23·   just -- everyone knew he had to go.· You can't
24·   A· · · ·Melinda McGraw and Terri Henley.                24·   conduct yourself that way.
25·   Q· · · ·How long did the meeting with Tommy Whited      25·   Q· · · ·Was he offered a severance to your
                                                    Page 27                                                       Page 29
·1·   last that you were a part of?                           ·1·   knowledge?
·2·   A· · · ·If it lasted five minutes, it was -- not        ·2·   A· · · ·No.· He was terminated for cause.
·3·   long.· There's no discussion about it.· There was       ·3·   · · · · · · ·MS. COLLINS:· All right.· We can take a
·4·   the...                                                  ·4·   quick break off the record.· I'm going to review my
·5·   Q· · · ·Who else was there besides you and              ·5·   notes.
·6·   Terri Henley and Melinda McGraw?                        ·6·   · · · · · · ·(Recess observed.)
·7·   A· · · ·I don't -- the only other person that might     ·7·   · · · · · · ·MS. COLLINS:· Let's go back on the
·8·   have been there would have been Tom, and I'm not        ·8·   record.
·9·   certain that he was there.                              ·9·   BY MS. COLLINS:
10·   Q· · · ·During the course of the investigation, did     10·   Q· · · ·Mr. Bell, if you could turn to Exhibit 16 in
11·   it come out that employees were afraid of               11·   the binder, and if you could turn to the second page
12·   Tommy Whited and that he had made threats to them       12·   of that document.· It starts with 219.
13·   about their job security?                               13·   · · · · · · ·(Presented Exhibit No. 16.)
14·   A· · · ·Yes.                                            14·   BY MS. COLLINS:
15·   Q· · · ·Was that contrary to WestRock's policies?       15·   Q· · · ·Just let me know when you've had a moment to
16·   A· · · ·Absolutely.                                     16·   review that.
17·   Q· · · ·And I understand that WestRock placed           17·   A· · · ·Am I reading the whole document or this
18·   security out at the plant after he was terminated;      18·   first page?
19·   is that correct?                                        19·   Q· · · ·If you want to -- well, first, have you seen
20·   A· · · ·More than likely, yes.· That's something we     20·   this document before?
21·   do routinely where we have a termination that has       21·   A· · · ·This format doesn't look familiar.
22·   got some level of acrimony to it.· Just -- in           22·   Q· · · ·Okay.
23·   today's world, it's the safest thing to do.             23·   A· · · ·But the information I've -- I've seen
24·   Q· · · ·What was -- I guess what do you know about      24·   before.
25·   that, about security being placed out at the plant?     25·   Q· · · ·But have you seen this particular form as it


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·1·   pertained to the Tommy Whited investigation?            ·1·   group is perceived one way.· At any point in time,
·2·   A· · · ·Was this put in, this part here?                ·2·   an individual who does not want that kind of
·3·   · · · · This looks familiar.                            ·3·   attention or -- you know, they need to speak up.
·4·   Q· · · ·By this, you're pointing to the witness         ·4·   · · · · · · ·That's in the protocol that's for
·5·   statements on Page 220?                                 ·5·   harassment, is that the employee or person or object
·6·   A· · · ·Everything above the case facts.                ·6·   of that kind of behavior speak to the individual
·7·   Q· · · ·Does not look familiar to you?                  ·7·   directly.
·8·   A· · · ·That would not have been the format that I      ·8·   · · · · · · ·If that does not work, they report it
·9·   saw.                                                    ·9·   to a manager.· That manager, you just keep cascading
10·   Q· · · ·Okay.· So you don't recall seeing a document    10·   until you get to an 800 hotline number.· Then any
11·   where code of conduct or harassment were                11·   possibility of any internal investigation to that
12·   highlighted?                                            12·   plant is removed.· It becomes an investigation
13·   A· · · ·I just recall seeing the notes from the         13·   conducted by outside resources.
14·   investigation.                                          14·   · · · · · · ·MS. COLLINS:· We're done.
15·   Q· · · ·Okay.                                           15·   · · · · · · ·FURTHER DEPONENT SAITH NOT.
16·   A· · · ·And it was formatted in such, Witness 4, 5,     16·   · · · · · · ·(Proceedings concluded at 1:55 p.m.)
17·   6 so that we'd know the names.                          17
18·   Q· · · ·And on the page that has 221 down at the        18
19·   bottom, down at the bottom of that page, it has         19
20·   Summary of Findings and Conclusion.                     20
21·   · · · · Had you seen -- do you recall if you had        21
22·   seen this section before?                               22
23·   A· · · ·Are you talking about the Summary of            23
24·   Findings?                                               24
25·   Q· · · ·Yes.                                            25
                                                    Page 31                                                            Page 33
·1·   A· · · ·As it pertains to individuals -- the temps      ·1· · · · · · · · ·REPORTER'S CERTIFICATE

·2·   working?                                                ·2

·3·   Q· · · ·It has inappropriate relationship, conflict     ·3· · · · · · · ·I, Elisabeth A. Miller Lorenz, RMR,
                                                              ·4· CRR, Notary Public and Court Reporter, do hereby
·4·   of interest, company accounting number for
                                                              ·5· certify that I recorded to the best of my skill and
·5·   reporting, and going into the next page, privacy,
                                                              ·6· ability by machine shorthand all the proceedings in
·6·   respect, and guidance and reporting.
                                                              ·7· the foregoing transcript, and that said transcript
·7·   · · · · Do you recall if you've seen those?
                                                              ·8· is a true, accurate, and complete transcript to the
·8·   A· · · ·I don't recall seeing it.· I recall
                                                              ·9· best of my ability.
·9·   discussing those issues, yes.
                                                              10· · · · · · · ·I further certify that I am not an
10·   · · · · · · ·MS. COLLINS:· That's all I have.
                                                              11· attorney or counsel of any of the parties, nor a
11·   · · · · · · ·MS. DOHNER SMITH:· I think I just have
                                                              12· relative or employee of any attorney or counsel
12·   one follow-up.                                          13· connected with the action, nor financially
13·   · · · · · · · · E X A M I N A T I O N                   14· interested in the action.
14·   BY MS. DOHNER SMITH:                                    15· · · · · · · ·SIGNED this 21st day of December, 2017.
15·   Q· · · ·I think earlier you indicated that hitting      16
16·   in the groin goes beyond horseplay.                     17
17·   · · · · If, for example, there were, you know, two      18
18·   long-term friends and they kind of engaged in this      19
19·   type of behavior, you know, toward each other,          20· · · · · · · ·____________________________________
20·   laughed about it, you know, it was joking to them,      21· · · · · · · ·Elisabeth A. Miller Lorenz, RMR, CRR
21·   could that be considered still inappropriate in the     22· My Notary commission expires:· 3/10/2019
22·   workplace but horseplay?                                23· Tennessee LCR No. 66
23·   · · · · · · ·MS. COLLINS:· Objection to form.           · · Expires:· 6/30/2018
24·   · · · · · · ·THE WITNESS:· Yes, that could be.· The     24

25·   banter and activity that goes on in a close-knit        25



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·1· · · · · · · · · · · ·E R R A T A
·2
·3· · · ·I, JEB BEL, having read the foregoing
· · deposition, Pages 1 through 34, taken December 18,
·4· 2017, do hereby certify said testimony is a true and
· · accurate transcript, with the following changes, if
·5· any:
·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·7· _____· ·_____· · ·______________________________
·8· _____· ·_____· · ·______________________________
·9· _____· ·_____· · ·______________________________
10· _____· ·_____· · ·______________________________
11· _____· ·_____· · ·______________________________
12· _____· ·_____· · ·______________________________
13· _____· ·_____· · ·______________________________
14· _____· ·_____· · ·______________________________
15· _____· ·_____· · ·______________________________
16· _____· ·_____· · ·______________________________
17
18· · · · · · · · · · ______________________________
19· · · · · · · · · · JEB BEL
20
21
· · ____________________________
22· · · · Notary Public
23· My commission expires:· _____________
24
25




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